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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION




UNITED STATES OF AMERICA,

             Plaintiff,
                                                        File No. 1:05-CV-05
v.
                                                        HON. ROBERT HOLMES BELL
JULIE ANN GLASSBROOK,

             Defendant.
                                           /

              MEMO RANDUM O PINION AND ORDER

      This matter is before the Court on Defendant Julie Ann Glassbrook’s motion in limine

regarding F ED. R. E VID. 404(b) evidence.       Defendant seeks an order precluding the

government from offering evidence under Rule 404(b) regarding Defendant’s prior retail

fraud convictions.

      Defendant has been indicted along with her husband, Michael Wallace Glassbrook,

with knowingly and intentionally manufacturing more than 5 grams of methamphetamine in

violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii) and knowingly and intentionally

possessing with intent to distribute more than 5 grams of methamphetamine in violation of

21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii).

      Defendant wishes to exclude three prior convictions for retail fraud, in violation of

M ICH. C OMP. L AWS § 750.356d. The three prior convictions occurred in October 1995, June

1998, and November 2004. It appears that the Government does not intend to offer evidence
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of the three prior convictions under Rule 404(b) in their case in chief.1 Accordingly,

Defendant’s motion pursuant to FED. R. E VID . 404(b) and 403 is denied as moot.

       The Government, however, has indicated that in the event Defendant testifies at trial,

they may introduce the prior convictions as impeachment evidence pursuant to FED. R. E VID .

609(a)(2). Rule 609(a)(2) provides that “evidence that any witness has been convicted of a

crime shall be admitted if it involved dishonesty or false statement, regardless of the

punishment,” for the limited purpose of attacking the credibility of the witness. F ED. R.

E VID . 609(a)(2). Evidence of a prior conviction for a crime involving dishonesty, that is less

than ten years old, is admissible without regard to the Rule 403 balancing test. See United

States v. Sloman, 909 F.2d 176, 180 (6th Cir. 1990). In other words, the Court does not have

any discretion to deny admissibility of a conviction under 609(a)(2), unless it is more than

10 years old. United States v. Morrow, 977 F.2d 222, 228 (6th Cir. 1992).

       The three prior retail fraud convictions are less than 10 years old, thus if they involved

dishonesty or false statement, they would be admissible to impeach Defendant, if she chose

to testify. See People v. Parcha, 227 Mich. App. 236, 246-47, 575 N.W.2d 316, 321-22

(1997) (holding that admissibility of evidence of a conviction of violating M.C.L. § 750.356d

under state analogue of Rule 609 turns on the “specific factual underpinning of the

conviction.”); McHenry v. Chadwick, 896 F.2d 184, 188-89 (6th Cir. 1990) (looking to state



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       The Government has indicated that they intend to introduce evidence pursuant to
404(b) of a fourth attempted theft on December 23, 2004. This incident is not before the
Court at this time.

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law to determine if conviction for concealing stolen property was an offense involving

dishonesty within Rule 609(a)(2)). Accordingly,

        IT IS HEREBY ORDERED that Defendant’s motion in limine regarding Rule

404(b) evidence (Docket #42) is DENIED as moot.




Date:       July 11, 2005               /s/ Robert Holmes Bell
                                        ROBERT HOLM ES BELL
                                        CHIEF UNITED STATES DISTRICT JUDGE




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